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10
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11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                   WESTERN DIVISION

15   UNITED STATES OF AMERICA,                 Case No. CV 17-00399-TJH(JCx)

16              Plaintiff,                     PLAINTIFF UNITED STATES OF
                                               AMERICA’S REPORT REGARDING STATUS
17                    v.                       OF RELATED CRIMINAL CASE

18   $146,780.00 IN U.S. CURRENCY,

19              Defendant.

20
     MANUELA GOMEZ,
21
                Claimant.
22

23         Pursuant to the Court’s Order filed December 20, 2017 based upon
24   the parties stipulation therefor, the Court stayed this civil
25   forfeiture action pursuant to 18 U.S.C. § 981(g) (which provides for
26   a mandatory stay of a civil forfeiture action where civil discovery
27   will adversely affect the prosecution of a related criminal case)
28   pending the resolution of the related criminal case filed on December
     Case 2:17-cv-00399-TJH-JC Document 47 Filed 09/18/20 Page 2 of 2 Page ID #:161



1    4, 2017 in Los Angeles Superior Court and entitled People of the

2    State of California v. Pedro Luis Prieto, Los Angeles County Superior

3    Court Case No. BA463301 (the “related criminal case”).            The Court’s

4    Order instructed the government to file reports every ninety (90)

5    days, commencing February 1, 2018, regarding the status of the

6    related criminal case.       Accordingly, the government is hereby

7    submitting this report regarding the status of the related criminal

8    case.

9          At the present time, the related criminal case filed December 4,

10   2017 is ongoing and has not yet been concluded.           Pursuant to the

11   Court’s Order filed December 20, 2017, the government will submit its

12   next status report within 90 days of the filing of this status report

13   (i.e., by December 18, 2020).
      Dated: September 18, 2020            Respectfully submitted,
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                                           NICOLA T. HANNA
15                                         United States Attorney
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16                                         Assistant United States Attorney
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                                                 /s/
20                                         VICTOR A. RODGERS
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23

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